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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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Case No. 23-cr-00239 (CKK)

UNITED STATES OF AMERICA,
Vv.
ILYA LICHTENSTEIN, et al,

Defendants.

MOTION TO INTERVENE OF
CHARLES REED VENTURELLA

Movant Charles Reed Venturella (“Movant”), by and through his undersigned counsel,
respectfully submit this motion to intervene pursuant to Fed. R. Civ. P. 24(a)(2) and Local Criminal
Rule 57.6.

1. On or about August 2, 2016, as a result of the hacking of Bitfinex and money
laundering scheme perpetrated by Defendants Ilya Lichténstein and Heather Morgan, Movant lost
Bitcoin, among other assets.

2. On November 21, 2024, the Court issued an order (the “November 21 Order”)
scheduling a Restitution Hearing for February 21, 2025, ordering the Government to file its
Supplemental Memorandum Regarding Restitution on January 14, 2025 (the “DOJ
Memorandum”; ECF No. 202), and ordering any third-parties to file motions to intervene and/or
objections to the DOJ Memorandum on or before January 28, 2025. See ECF No. 185.

3. On February 10, 2025, the Court issued a Memorandum Opinion and Order
requesting additional briefing by the Government (the “Supplemental Government Briefing”) on

issues relating to restitution and ancillary forfeiture proceedings in this case.
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4, On February 11, 2025, the Court issued a minute order adjourning the Restitution
Hearing and setting a deadline of February 21, 2025, for the Government to file its Supplemental
Government Briefing.

5. On February 14, 2025, the Court issued an order setting the final deadline of
February 19, 2025, for the filing of any ancillary petition by third parties, like Movant, who have
not previously filed with the Court.

6. Movant requests leave to file the verified ancillary petition annexed hereto as
Exhibit 1 pursuant to 21 USC. § 853(n) for an order determining his interest in property that is
subject to forfeiture under the Second Amended Preliminary Order of Forfeiture, entered by this
Court on November 14, 2024, ECF. No. 178 (the “Preliminary Forfeiture Order”).

1. As further set forth in Movant’s verified ancillary petition, Movant has interests in
property that is subject to forfeiture under the Preliminary Forfeiture Order and the disposition of
this case may as a practical matter impair his ability to protect those interests.

8. Movant hereby joins in the arguments made by other present and former Bitfinex
accountholders in their respective motions to intervene and objections (collectively, the
“Objections”) filed in response to the DOJ Memorandum, including the arguments set forth in
ECF No. 230 and the memorandum of law attached as an exhibit thereto.

9 Accordingly, Movant respectfully requests that the Court permit him to intervene
in this case, to submit an ancillary petition, and to join the Objections, together with such other
and further relief as the Court deems just and proper. A proposed order is annexed hereto as

Exhibit 2.
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Dated: February 19, 2025 GREENSTEIN DELORME & LUCHS, P.C.

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on February 19, 2025, I sent the foregoing Motion to Intervene
and Exhibits by email to ded_cmecf_cr@dcd.uscourts.gov and that I am sending a copy by email
to all persons listed on the docket sheet for the receipt of a Notice of Electronic Filing. I am also
emailing a copy to the persons designated as intervenors in the ECF system. See email service

list below.

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/s/ James D. Sadowski

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